          Case 3:22-cv-01223-JBA Document 51 Filed 07/05/23 Page 1 of 3




                        UNITED STATES DISTRICT COURT
                          DISTRICT OF CONNECTICUT


 EDDIE GRANT, JR., JENNIFER HAMILTON;                      CIV. NO. 3:22-cv-01223-JBA
 MICHAEL STIEFEL; CONNECTICUT
 CITIZENS DEFENSE LEAGUE, INC.; AND                                JULY 5, 2023
 SECOND AMENDMENT FOUNDATION, INC.,

          Plaintiffs,

 v.                                                       AMENDED MOTION FOR
                                                             A PRELIMINARY
 EDWARD M. LAMONT, JR., in his official capacity;             INJUNCTION
 JAMES ROVELLA, in his official capacity;
 PATRICK GRIFFIN, in his official capacity;
 MARGARET E. KELLY, in her official capacity;
 DAVID R. APPLEGATE, in his official capacity;
 JOSEPH T. CORRADINO, in his official capacity;
 SHARMESE L. WALCOTT, in her official capacity;
 DAVID R. SHANNON, in his official capacity;
 MICHAEL A. GAILOR, in his official capacity;
 CHRISTIAN WATSON, in his official capacity;
 JOHN P. DOYLE, JR., in his official capacity, PAUL
 J. NARDUCCI, in his official capacity; PAUL J.
 FERENCEK, in his official capacity; MATTHEW C.
 GEDANSKY, in his official capacity, MAUREEN
 PLATT, in her official capacity; ANNE F.
 MAHONEY, in her official capacity,

          Defendants.


       Pursuant to Fed. R. Civ. P. 65, D. Conn. Local Rule 7, and the Court’s June 30, 2023

scheduling order (Dkt. 50), the Plaintiffs hereby respectfully move the Court to issue a

preliminary injunction on an expedited basis against the Defendants. They request the

following relief:



ORAL ARGUMENT REQUESTED

                                            1
            Case 3:22-cv-01223-JBA Document 51 Filed 07/05/23 Page 2 of 3




       1.      A preliminary injunction barring the Defendants from enforcing Conn. Gen.

Stat. §§ 53-202a-f, 53-202h-j, and Conn. Public Act No. 23-53, § 23 until such time as the

Court makes a final determination on the merits in this matter.

Dated: July 5, 2023                        Respectfully submitted,

                                               //s// Doug Dubitsky
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                                              2
         Case 3:22-cv-01223-JBA Document 51 Filed 07/05/23 Page 3 of 3




                             CERTIFICATION OF SERVICE

       The undersigned hereby certifies that, on the foregoing date, a copy of the foregoing

was filed electronically and served by mail on anyone unable to accept electronic filing. Notice

of this filing will be sent by email to all parties and counsel of record who have appeared by

operation of the Court’s electronic filing system or by mail to anyone unable to accept

electronic filing. Parties may access this filing through the Court’s system.

                                /s/ Cameron L. Atkinson /s/




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